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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

                                                           )
  RICHARD BERNARD MOORE,                                   )
                                                           )
                       Plaintiff,                          )
                                                           )
                                                             Case No.: ______________________
            v.                                             )
                                                           )
                                                                           COMPLAINT
  HENRY D. McMASTER, in his personal capacity              )
  and in his official capacity as the Governor of South    )
  Carolina,                                                )
                                                           )
                      Defendant.                           )
                                                           )


   COMPLAINT FOR INJUNCTIVE RELIEF AND A DECLARATORY JUDGMENT

       Plaintiff Richard Bernard Moore, by his undersigned counsel, brings this suit against

Defendant Henry D. McMaster and alleges as follows:

                                                  I.

                          PARTIES AND NATURE OF THE ACTION

       1.        This is a suit brought by Plaintiff Moore, under 42 U.S.C. § 1983, seeking

injunctive relief and a declaratory judgment for violations, and threatened violations, of his rights

pursuant to the Due Process Clause of the United States Constitution.

       2.        Plaintiff Moore was sentenced to death in Spartanburg County in 2001 for a crime

that occurred in 1999. He is in the custody of the South Carolina Department of Corrections

(“SCDC”) at the Edisto Unit of Broad River Secure Facility in Columbia, South Carolina.

       3.        Defendant Henry D. McMaster is sued herein in his individual and official capacity.

McMaster is currently the Governor of the State of South Carolina, a position he has held since

January 24, 2017.
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          4.      This case arises from the irreconcilable conflict between Defendant McMaster’s

former role as Attorney General of South Carolina during the appellate and post-conviction

proceedings in Moore’s capital case and his current role as Governor of South Carolina and final

arbiter in capital clemency proceedings, including any clemency proceedings commenced by

Moore.

          5.      McMaster and the other members of the Office of the Attorney General, under

McMaster’s direction, argued in state and federal courts in defense of the death sentence imposed

on Moore. As the Attorney General, the “chief prosecuting officer of the State with authority to

supervise the prosecution of all criminal cases,” 1 McMaster was responsible for overseeing

criminal prosecutions by the State of South Carolina, including Moore’s appellate and post-

conviction proceedings.

          6.      For Moore to receive clemency, McMaster would have to renounce years of his

own work and that of his former colleagues in the Office of the Attorney General.

          7.      McMaster’s incapacity to serve as a fair and impartial decision-maker in Moore’s

clemency proceedings is further demonstrated by McMaster’s statements to the press that he has

no intention to commute Moore’s sentence, even though Moore had not applied for or otherwise

requested clemency at the time of such statements.

          8.      In Ohio Adult Parole Authority v. Woodard, the Supreme Court announced that

state clemency procedures require, at a minimum, the basic elements of due process. 523 U.S.




1
    S.C. Const. art. V, § 24.


                                                  2
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272, 288 (1998). 2 Justice O’Connor explained that, although the procedures at issue in that case

did not require the justices to decide what minimal due process protections are essential in

clemency proceedings, “[j]udicial intervention” would be warranted “in the face of a scheme

whereby a state official flipped a coin to determine whether to grant clemency, or in a case where

the State arbitrarily denied a prisoner any access to its clemency process.” Id. at 289. Judicial

intervention is warranted here. Considering McMaster’s extensive and active participation in

defending Moore’s death sentence during appellate and post-conviction proceedings and his recent

statements, even a coin toss would undoubtedly offer a fairer procedure than a clemency procedure

where Moore’s clemency application will be decided by a biased arbiter, who has prematurely

declared that Moore will not be granted any clemency.

       9.      Moore has a right to a clemency proceeding conducted and decided by a neutral,

open-minded, and impartial decision-maker, untainted by any prior personal participation in the

prosecution or constrained by premature declarations that clemency will not be granted.

       10.     To protect Moore’s right to have his clemency application reviewed by a neutral,

open-minded, and impartial decision-maker, consideration of his clemency petition should be


2
  In Woodard, Justice O’Connor, joined by three other justices, reasoned that “some minimal
procedural safeguards apply to clemency proceedings.” Although Justice Stevens, writing
separately, dissented from the outcome, he agreed with Justice O’Connor’s opinion that clemency
proceedings were subject to the Due Process Clause. Justice O’Connor’s concurring opinion
represents the holding of the Court because it was decided on the narrowest grounds and provided
the fifth vote. See Romano v. Oklahoma, 512 U.S. 1, 9 (1994). Other courts have agreed that
clemency proceedings constitutionally require minimal procedural safeguards. E.g., Garcia v.
Jones, 910 F.3d 118, 191 (5th Cir. 2018) (discussing Faulder v. Tex. Bd. of Pardons & Paroles,
178 F.3d 343, 344 (5th Cir. 1999)); Fautenberry v. Mitchell, 572 F.3d 267, 271 (6th Cir. 2009);
Workman v. Summers, 111 Fed. Appx. 369, 371 (6th Cir. 2004); Rhines v. Young, 941 F.3d 894,
895–96 (8th Cir. 2019); Lee v. Hutchinson, 854 F.3d 978, 981 (8th Cir. 2017); Creech v. Idaho
Comm’n of Pardons & Parole, 94 F.4th 851, 855 (9th Cir. 2024); Burnsworth v. Gunderson, 179
F.3d 771, 775 (9th Cir. 1999); Duvall v. Keating, 162 F.3d 1058, 1060–61 (10th Cir. 1998);
Gardner v. Garner, 383 Fed. Appx. 722, 726 (10th Cir. 2010); Barwick v. Governor of Fla., 66
F.4th 896, 903–04 (11th Cir. 2023); Gissendaner v. Comm’r, Ga. Dep’t of Corr., 794 F.3d 1327,
1330–31 (11th Cir. 2015); Hall v. Barr, 830 Fed. Appx. 8, 10 (D.C. Cir. 2020).
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removed from the Governor’s Office to the South Carolina Board of Paroles and Pardons (“Parole

Board”).

                                                 II.

                                 JURISDICTION AND VENUE

        11.      This action is brought pursuant to 42 U.S.C. § 1983 and the Fourteenth Amendment

to the United States Constitution.

        12.      The Court has jurisdiction over this action under 28 U.S.C. §§ 1331.

        13.      Venue in this Court is proper under 28 U.S.C. § 1391 because the events

complained of occurred, and will occur, within this district and Defendant McMaster resides in

this district.

                                                III.

                                              FACTS

A.      Defendant McMaster and his Active Involvement in Moore’s Prosecution.

        a.    Henry McMaster’s Public Career.

        14.      McMaster served as a public prosecutor—both federal and state—for

approximately twelve (12) years. He served as a United States Attorney for the District of South

Carolina from 1981 to 1985 and as the Attorney General of South Carolina from 2003 to 2011.

        15.      In 2014, McMaster was elected Lieutenant Governor of South Carolina.

        16.      In January 2017, when South Carolina Governor Nikki Haley was confirmed to the

position of the United States Ambassador to the United Nations, McMaster became the 117th

Governor of South Carolina.




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       17.       Subsequently, McMaster won a full four-year term in the 2018 gubernatorial

election. In 2022, McMaster was re-elected to another four-year term as the Governor of South

Carolina.

       18.       As Governor, McMaster is empowered under Article IV of the Constitution of

South Carolina to exercise the power of clemency in capital punishment cases.

       19.       McMaster has been an ardent supporter of capital punishment for at least as long as

he has sought and held public office. 3 He has advocated for expanding the reach of the State’s

death penalty statute to cover non-capital crimes; 4 and, when the United States Supreme Court

held in Roper v. Simmons, 541 U.S. 1040 (2004), that death penalty could not be imposed on

offenders that were under the age of eighteen when their crimes were committed, McMaster

disagreed with the judgment:        “I firmly believe that adult crimes usually deserve adult

punishment.” 5

       20.       Throughout his career in public life, McMaster has been hostile to the exercise of

any discretionary power with regards to criminal sentences.          In particular, McMaster has

consistently sought to limit or abolish parole in South Carolina. 6 Perhaps because of his lengthy

service as a public prosecutor, McMaster fails to appreciate the necessity of mercy, clemency, and



3
 See, e.g., Henry McMaster, Experience to get the job done, THE STATE, October 30, 2002, at
A11; Questioning The Candidates, THE STATE, May 27, 2002, at B5.
4
  See Associated Press, Senate delays vote on sex offenders, THE ISLAND PACKET, Mar 24, 2006,
at 13 (stating that Attorney General McMaster supported death penalty for repeat sex offenders).
5
 See Associated Press, High court strikes down death penalty for juveniles, The Index-Journal,
Mar 2, 2005, at 7A.
6
  See Jason Gertzen, Lieutenant governor candidate would abolish parole system, Anderson
Independent-Mail, Sept 14, 1989, at 3A.


                                                  5
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compassion to temper criminal sentences in certain deserving cases, 7 and the important role played

by executive clemency as a “fail safe” mechanism in our criminal justice system. See Harbison v.

Bell, 556 U.S. 180, 192 (2009) (“Far from regarding clemency as a matter of mercy alone, we have

called it the ‘fail safe’ in our criminal justice system”). See also Ex Parte Grossman, 267 U.S. 87,

121–22 (1925) (“Executive clemency exists to afford relief from undue harshness or evident

mistake in the operation or enforcement of the criminal law. The administration of justice by the

courts is not necessarily always wise or certainly considerate of circumstances which may properly

mitigate guilt. To afford a remedy, it has always been thought essential in popular governments,

as well as in monarchies, to vest in some other authority than the courts power to ameliorate or

avoid particular criminal judgments. It is a check entrusted to the executive for special cases.”);

Kansas v. Marsh, 548 U.S. 163, 193 (2006) (Scalia, J., concurring) ("Reversal of an erroneous

conviction on appeal or on habeas, or the pardoning of an innocent condemnee through executive

clemency, demonstrates not the failure of the system but its success. Those devices are part and

parcel of the multiple assurances that are applied before a death sentence is carried out").

       b.    Henry McMaster’s Prosecution of Plaintiff Moore.

       21.     As South Carolina’s “chief prosecuting officer” from 2003 to 2011, McMaster

ensured that Moore’s conviction and death sentence were vigorously defended by the Office of the

Attorney General. McMaster and his office defended Moore’s death sentence despite the unique

circumstances of the offense that would not typically warrant the death penalty in South Carolina.

See Moore v. Stirling, 871 S.E.2d 423, 441–42 (S.C. 2022) (J. Hearn, dissenting) (“While there


7
  Alexander Hamilton, THE FEDERALIST NO. 74 (“The criminal code of every country partakes so
much of necessary severity that without an easy access to exceptions in favor of unfortunate guilt,
justice would wear a countenance too sanguinary and cruel”); Justice Anthony Kennedy, Speech
at the American Bar Association Annual Meeting: An Address by Anthony M. Kennedy, August
9, 2003 (“A people confident in its laws and institutions should not be ashamed of mercy”).

                                                 6
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have been individuals executed based on killing a single victim during the commission of an armed

robbery, that alone is not dispositive [of whether the death penalty is proportionate to the offense]. .

. . I have not found any other case involving a defendant receiving the death penalty where he

entered the place of business unarmed. Indeed, the State specifically conceded at oral argument

that it could not cite to any case in our state with this distinguishing fact. . . . Moore's death sentence

is a relic of a bygone era, where he was convicted by a jury comprised of eleven Caucasians and

one Hispanic. No African Americans served on the jury, despite several being included in the jury

pool.”).

        22.     By the time McMaster was elected Attorney General in 2003, Moore had been

convicted and sentenced to death. However, when Moore appealed his death sentence to the

Supreme Court of South Carolina, McMaster was the Attorney General. Pleadings filed by the

State in Moore’s direct appeal proceedings were made under his name, and the State’s counsel of

record—William Edgar Salter, III, and Donald J. Zelenka—were under McMaster’s control and

supervision. Under McMaster’s direction, the Office of the Attorney General of South Carolina

defended the death sentence imposed on Moore.

        23.     After Moore’s direct appeal was denied and his case went into state post-conviction

relief proceedings, McMaster continued to serve as the Attorney General for several years. Under

McMaster’s direction, the Office of the Attorney General continued to defend the death sentence

imposed on Moore in multiple post-conviction court proceedings.




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       c.    Henry McMaster’s Premature Statements.

       24.     McMaster is “not known for discussing individual crimes.” 8 However, perhaps

because of his previous involvement in Moore’s case, McMaster recently made an exception with

regards to Moore. Shortly after the Supreme Court of South Carolina issued a temporary stay in

Moore’s scheduled firing squad execution, and before Moore submitted any petition or request for

clemency, McMaster told reporters that he has “no intention to commute” Moore’s sentence. He

continued, “I’ve seen the record, and there have been many hearings up and down, motions, and

this penalty is a very strong response to criminal activity—but it is a necessary response.” 9 This

reading, however, misunderstands “the heart of executive clemency,” as the process is not limited

to the court record, and “allow[s] the executive to consider a wide range of factors not

comprehended by earlier judicial proceedings and sentencing determinations.” Woodard, 523 U.S.

at 280–81.

       25.     McMaster’s public announcement that he will not grant clemency to Moore was

clearly premature. At that time, Moore had not exhausted his judicial appeals and had not applied

for executive clemency.

       26.     McMaster’s statement that he will deny clemency to Moore was also made without

consideration of the substantial facts and circumstances that make Moore’s case uniquely suitable

for the exercise of executive clemency. Comparison of the crime with which Moore was charged—

a convenience store shooting death with both weapons involved originating in the possession of

the victim—with other cases before and since shows Moore’s case lacks the premeditation and


8
 John Monk, State’s most shocking crimes now include Murdaugh killings, Sun-News, June 21,
2021, at 4A.
9
 John Monk, SC Gov. McMaster says he won’t commute Richard Moore’s death sentence, Sun-
News, April 22, 2022, at 2A.

                                                8
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aggravation that typically results in a death sentence. This type of case only results in execution

when the legal system has failed in ways that clemency is in place to remedy. Further, over the

past twenty years, Moore has worked to make up for his tragic mistakes by being a loving and

supportive father, grandfather, and friend. He has an exemplary prison record, and the former

director of SCDC supports clemency because Moore would be a “powerful force for good” within

the prison system if his sentence was commuted to life without parole. Other governors have

granted clemency based on disproportionality of the sentence 10 and evidence of rehabilitation.11

All of this information would have been presented to McMaster in Moore’s clemency application,

but McMaster decided to deny clemency before he ever received it.

        27.    Although McMaster’s statements denying clemency in Moore’s case were

premature, there is no reason to think McMaster will change his mind. There is no doubt that in

Moore’s case, his clemency application would be denied without fair consideration; in fact, the

Governor has already said it will be denied.

        28.    Other Governors have recognized the need for impartiality in reviewing and

deciding on clemency petitions. In a 2008 amici curiae brief filed with the Supreme Court, several




10
   See, e.g., CLEMENCY: Ohio Governor Grants Fifth Clemency, Nov. 15, 2010, available at
https://deathpenaltyinfo.org/news/clemency-ohio-governor-grants-fifth-clemency       (granting
clemency, in part, because the death sentence was disproportionate other sentences imposed in
similar cases).
11
  See, e.g., Georgia Prisoner Jimmy Meders Granted Clemency Hours Ahead of Execution, March
10,                          2020,                       available                        at
https://www.americanbar.org/groups/committees/death_penalty_representation/project_press/20
20/spring/jimmy-meders-granted-clemency/ (granting clemency in a convenience store murder
whether the petitioner had demonstrated he returned to law abiding behavior during his
incarceration and earned praise from prison officials).


                                                9
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governors of States that maintain the death penalty 12 noted that “a Governor has the responsibility

to enforce the laws of his State impartially and to exercise the clemency power in a manner that

promotes fairness, accuracy, and public confidence in the criminal justice system.” 13 In their

brief, the governors, writing based on their extensive experience in deciding clemency applications

in death penalty cases, emphasized “their responsibility to examine scrupulously each application

for clemency in a capital case [by engaging] in a fact-specific inquiry into the circumstances of

each case.” 14

           29.   Considering McMaster’s ardent support for death penalty and his extensive efforts

to abolish parole (a system akin to clemency review), the probability that McMaster would grant

clemency to any death row inmate is low. While the beliefs and convictions of a governor alone

cannot provide a legitimate basis to disqualify the governor from performing his constitutional

duties with regards to clemency applications, in Moore’s case, McMaster’s actions—namely, his

active and extensive defense of Moore’s death sentence—certainly disqualify him. Furthermore,

to the extent there were any doubts about whether McMaster could still review Moore’s clemency

application in a neutral, open-minded, and impartial manner, those doubts were decidedly put to




12
   Garrey E. Carruthers, former Governor of New Mexico; Richard F. Celeste, former Governor
of Ohio; John J. Gilligan, former Governor of Ohio; James B. Hunt, Jr., former Governor of North
Carolina; Gary E. Johnson, former Governor of New Mexico; Joseph E. Kernan, former Governor
of Indiana; James G. Martin, former Governor of North Carolina; Ted Strickland, then current
Governor of Ohio; John Fife Symington, III, former Governor of Arizona; James R. Thompson,
former Governor of Illinois; and Dick Thornburgh, former Governor of Pennsylvania.
13
   Brief of Current and Former Governors as Amici Curiae in Support of Petitioner in Harbinson
v. Bell, 2008 WL 4264488 at 8 (emphasis added).
14
     Id.


                                                10
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rest by his premature public declaration that McMaster, as Governor, will not grant clemency to

Moore.

B.         Executive Clemency In South Carolina.

          a.    Background.

          30.     Historically, executive clemency was an integral part of the criminal justice system

in the United States, including the State of South Carolina. 15 Specifically, under South Carolina’s

1790 Constitution, the Governor was granted broad clemency powers. 16 These broad clemency

powers of the Governor continued under the 1895 Constitution; however, the 1895 Constitution

established a discretionary mechanism by which the Governor could refer petitions for clemency

to the Parole Board. 17       Section 24-21-910 of the South Carolina Code contains a similar

discretionary mechanism under which the Governor has the option to refer petitions for clemency

to the Parole Board. 18

          31.     In 1949, a constitutional amendment shifted control of the clemency power from

the Governor’s exclusive purview to the Parole Board. The sole arena in which the Governor’s


15
   See, e.g., L. Radzinowicz, A History of English Criminal Law and Its Administration from 1750,
at 114–16 (1948) (noting that youth, first offense, provocation, and the non-aggravated nature of
a crime were among the historical factors in clemency decisions).
16
  S.C. CONST. art. II, § 7 (1790) (vesting in the Governor the “power to grant reprieves and
pardons, after conviction, except in cases of impeachment, in such manner, on such terms, and
under such restrictions, as he shall think proper”).
17
   Compare S.C. CONST. art. II, § 7 (1790) with S.C. CONST. art. IV, § 11 (1895) (imposing on the
Governor a “duty to report to the General Assembly . . . all pardons granted by him” and
authorizing the Governor to refer a petition for clemency “to a Board of Pardons, to be provided
to the General Assembly, which Board shall hear all such petitions…The Governor may adopt the
recommendations of said Board, but in case he does not he shall submit his reasons to the General
Assembly.”).
18
     See ¶ 37 infra.


                                                   11
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power remained central was the power to grant reprieves and to commute sentences of death to

life imprisonment. 19

           32.   Even in death penalty cases, however, the statute and the State Constitution still

contemplated that the Parole Board would play an important role, and the Governor regularly

exercised his authority to refer a clemency petition to the Parole Board, which would issue a

recommendation to the Governor. 20

           33.   When the Governor referred a petition to the Parole Board, the Governor could

decline to follow the Parole Board’s recommendation, but only if he submitted a report to the

General Assembly detailing his reasons for deviating from the Parole Board’s recommendation. 21

In all cases, it was understood that the Governor would “investigate each case and if the

circumstances warrant[ed], in his opinion as Chief Executive, then he should act and would act

based, not upon his personal feelings, but upon the facts and the justice in each case before him.” 22

           34.   The 1949 amendment was part of then-Governor Strom Thurmond’s efforts to end

corruption in the pardon and clemency process. In Governor Thurmond’s words, “[n]othing has

done more in the past to undermine respect for law than the abuse of the pardoning power,” which




19
     1949 S.C. Acts 40 § 1 (amending S.C. CONST. art. IV, § 11 (1895)).
20
   See 1959 S.C. Op. Att’y Gen., 1959 WL 10434, at *1 (July 17, 1959). For example, then
Governor Blackwood granted clemency to George Jackson in 1932 based on a board
recommendation. Similarly, Governor Johnson granted James Kearse clemency in 1938 following
a board recommendation to do so.
21
     See 1959 S.C. Op. Att’y Gen., 1959 WL 10434, at *1 (July 17, 1959).
22
     Id.


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previous governors had used to purchase political influence. 23 The structure of the Parole Board

prevented any governor from appointing more than two members, a mechanism specially designed

to root out arbitrary decisions by the Parole Board and to “safeguard the exercise of clemency.”24

Thus, the Governor’s power to exercise executive clemency in South Carolina stems from the

vesting of a quasi-administrative, quasi-judicial power in the executive office.

           35.   In practice, the Governor and the Parole Board regularly exercised the clemency

power. From 1948 to 1972, out of fifty-eight (58) death sentences in South Carolina, twenty-eight

(28) (approximately 48.3%) of them were commuted. This practice reflects the importance of

clemency in the fabric of the Anglo-American justice system in general and in South Carolina in

particular. Clemency has for decades been “part and parcel of the multiple assurances that are

applied before a death sentence is carried out.” Kansas v. Marsh, 548 U.S. 163, 193 (2006) (Scalia,

J., concurring).

           36.   In this sense, clemency exists as a means of ensuring that innocent people are not

put to death and that only those individuals who are the “worst of the worst” are executed, leading

observers to describe the judge as the thirteenth juror and the Governor as the fourteenth. 25 “[T]he

culpability of the average murderer is insufficient to justify the most extreme sanction available to

the State,” and clemency ensures that defendants whose crimes do not reflect “a consciousness

materially more depraved than that of any person guilty of murder” do not suffer the most severe


23
  See Annual Message of J. Strom Thurmond, Governor of South Carolina, to the General
Assembly at 6 (Jan. 12, 1949).
24
     Id.
25
  See Hearing Before the Subcommittee on Criminal Justice of the Committee on the Judiciary,
H.R. 13360, at 139 (1978); A Matter of Life and Death: Due Process Protections in Capital
Clemency Proceedings, 90 Yale L.J. 889, 897 n.38 (1981) (collecting examples of clemency as a
safeguard against arbitrary jury action).

                                                 13
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punishment available to the State. Atkins v. Virginia, 536 U.S. 304, 319 (2002) (quotation marks

omitted).

       37.     Article IV, Section 14 of the South Carolina Constitution provides: “With respect

to clemency, the Governor shall have the power only to grant reprieves and to commute a sentence

of death to that of life imprisonment. The granting of all other clemency shall be regulated and

provided for by law.” It is noteworthy that under this article, the framers of the South Carolina

Constitution have not vested absolute clemency authority in the Governor. Instead, the Governor

has the sole authority to “grant reprieves and to commute a sentence of death to that of life

imprisonment;” in all other areas, clemency shall be granted in accordance with the applicable law,

which provides for the participation of the Parole Board. See Bearden v. State, 223 S.C. 211, 214,

74 S.E.2d 912, 913 (1953).

       38.     In addition, Section 24-21-910 of the South Carolina Code provides the Governor

with the option to refer petitions for reprieves or the commutation of a sentence of death to life

imprisonment to the Parole Board. Section 24-21-910, consistent with South Carolina’s past

practice, requires that if the Governor opts to refer a petition for reprieve or the commutation of a

death sentence to the Parole Board and the Governor fails to follow the recommendation of the

Parole Board, then the Governor shall submit his reasons for failing to follow the Parole Board’s

recommendations to the General Assembly.

       39.     In sum, since 1949, the Parole Board has exercised the sole authority in South

Carolina to grant pardons and to issue and revoke paroles, other than with regards to granting

reprieves and commuting death sentences to life imprisonment sentences and has served as an

important advisor to the Governor with regards to petitions seeking reprieves and commutation of

death sentences to life imprisonment sentences. Considering the Parole Board’s expertise and



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experience in matters relating to clemency and the recognition of its expertise by the General

Assembly as set forth in Section 24-21-910 of the South Carolina Code, it would be the most

suitable candidate to replace Governor McMaster as a decision-maker in Moore’s clemency

proceedings.

          b.    Importance of Robust Clemency Proceedings.

          39.     Clemency, which “is the historic remedy for preventing miscarriages of justice

where judicial process has been exhausted,” 26 is an essential “fail safe” mechanism in our criminal

justice system. 27 In Ex parte Grossman, Chief Justice Taft observed:

          Executive clemency exists to afford relief from undue harshness or evident mistake
          in the operation or enforcement of the criminal law. The administration of justice
          by the courts is not necessarily always wise or certainly considerate of
          circumstances which may properly mitigate guilt. To afford a remedy, it has always
          been thought essential in popular governments, as well as in monarchies, to vest in
          some other authority than the courts power to ameliorate or avoid particular
          criminal judgments. It is a check entrusted to the executive for special cases.

267 U.S. 87, 120–121 (1925).

          40.     Over the last half century, as the balance between the State’s interest in the finality

of criminal convictions and a defendant’s countervailing interest in robust post-conviction




26
     Herrera v. Collins, 506 U.S. 390, 412 (1993).
27
     Id. at 415 (“Executive clemency has provided the ‘fail safe’ in our criminal system”).


                                                    15
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proceedings has decidedly tipped in favor of the State, 28 the need for robust clemency proceedings

has understandably increased. In the case of South Carolina’s death row inmates, the need for

meaningful access to robust clemency proceedings has become particularly acute for three

principal reasons: South Carolina has abolished its traditional independent review in death penalty

cases for legal errors that may not have been properly preserved; 29 under South Carolina’s

draconian rules for error preservation, there is a heightened risk that meritorious claims of criminal

defendants could be inadvertently waived (especially where indigent defendants fail to receive

effective assistance of counsel), 30 and the scope of federal habeas review has been so dramatically

narrowed that the writ of habeas corpus has effectively been rendered unavailable. 31            The

cumulative effect of these developments is that the risk of unjust executions under South

Carolina’s death penalty laws has substantially increased. Therefore, it is essential that death row

inmates in South Carolina are guaranteed meaningful access to fair and robust clemency

proceedings, the traditional “fail safe” mechanism in our criminal justice system. See Harbison v.




28
   See Edwards v. Vannoy, 141 S. Ct. 1547, 1570–72 (2021) (Gorsuch, J., concurring, extolling the
benefits of finality and tracing the recent history of the Supreme Court’s judgments that seek to
promote finality of state court convictions: “Hard experience [has] reminded the Court that finality,
‘the idea that at some point a criminal conviction reaches an end, a conclusion, a termination, ‘is
essential to the operation of our criminal justice system’ [citations omitted]”) (emphasis in
original); see also Calderon v. Thompson, 523 U.S. 538, 555–56 (1998) (“Finality is essential to
both the retributive and the deterrent functions of criminal law…Finality also enhances the quality
of judging…Finality serves as well to preserve the federal balance. Federal habeas corpus of state
convictions frustrates ‘both the States’ sovereign power to punish offenders and their good-faith
attempts to honor constitutional rights.”).
29
     See ¶ 41 infra.
30
     See ¶ 42 infra.
31
     See ¶ 43-46 infra.


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Bell, 556 U.S. 180, 195 (2009) (“…no prisoner should be put to death without meaningful access

to the ‘fail-safe’ of our justice system.”).

          41.     Traditionally, under the doctrine of in favorem vitae (which literally means “in

favor of life”), 32 South Carolina’s Supreme Court conducted an independent review of the record

in death penalty cases to search for legal errors not properly preserved. 33 In State v. Torrence, the

Court abrogated its use of in favorem vitae review, accepting the state’s argument that “historical

and legal developments have rendered in favorem vitae obsolete.” 305 S.C. 45, 51, 406 S.E.2d

315, 319 (1991). The abolition of the doctrine of in favorem vitae has deprived death row inmates

of a critical safeguard. 34 In fact, of the eleven South Carolina capital convictions reversed between

1962 and 1972, seven were reversed after in favorem vitae review. 35

          42.     South Carolina’s Supreme Court not only abrogated its independent review in death

penalty cases for errors not properly preserved, but also has adopted stringent rules for preserving

errors for future appellate review. 36 To preserve an error for appellate review under South


32
     See State v. Torrence, 305 S.C. 45, 51, 406 S.E.2d 315, 319 (1991).
33
   See State v. Swilling, 246 S.C. 144, 147, 142 S.E.2d 864, 865 (1965) (“In keeping with…in
favorem vitae, we have not only considered the exceptions on appeal and the questions briefed and
orally argued…, but we have also independently searched the record for prejudicial error, whether
or not objected to below or made a ground of exception here”).
34
  For an analysis of in favorem vitae review as an expression of “deeply felt doubts within that
system of justice of the propriety of capital punishment itself,” see Laughlin McDonald, Capital
Punishment in South Carolina: The End of an Era, 24 S.C. L. REV. 762, 774–80 (1972).
35
  See State v. Richburg, 250 S.C. 451, 158 S.E.2d 769 (1968); State v. Bell, 250 S.C. 37, 156
S.E.2d 313 (1967); State v. Gamble, 247 S.C. 214, 146 S.E.2d 709 (1966); State v. Cain, 246 S.C.
536, 144 S.E.2d 905 (1965); State v. Swilling, 246 S.C. 144, 142 S.E.2d 864 (165); State v. White,
246 S.C. 502, 144 S.E.2d 481 (1965); State v. White, 243 S.C. 238, 133 S.E.2d 320 (1963).
36
  See generally John H. Blume and Pamela A. Wilkins, Death by Default: State Procedural
Default Doctrine in Capital Cases, 50 S.C. L. REV. 1 (1998).


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Carolina’s stringent rules, the objection should be sufficiently contemporaneous, 37 the objection

must be made the first time the alleged error is committed, 38 and the objection must precisely

specify all relevant grounds. 39 On appeal, there is a bar against supplementing any alternate

grounds that were not previously mentioned or properly objected to. 40 South Carolina’s rules for

error preservation are beset with countless traps for unwary litigators. For example, the Supreme

Court of South Carolina has held that even when defense counsel makes a contemporaneous

objection, the issue is not preserved for appellate review if the trial court offers a curative

instruction and counsel refuses the instruction. 41 Instead, defense counsel should allow the

curative instruction offered by the court and then object to the sufficiency of the curative




37
  See State v. Hoffman, 312 S.C. 386, 393, 440 S.E.2d 869, 873 (1994); State v. Torrence, 305
S.C. 45, 69, 406 S.E.2d 315, 328 (1991) (Toal, J., concurring).
38
     See State v. Somerset, 276 S.C. 220, 221, 277 S.E.2d 593, 594 (1981).
39
   See Broom v. Southeastern Highway Construction Co., 291 S.C. 93, 107, 352 S.E.2d 302, 310
(Ct. App. 1986). Although Broom was a civil case, the same principle applies in criminal cases.
See, e.g., State v. Hoffman, 312 S.C. 386, 393, 440 S.E.2d 869, 873 (1994) (finding that the trial
judge properly admitted certain evidence because defense counsel’s objection was, among other
things, “very broadly made”).
40
   See State v. Byram, 326 S.C. 107, 485 S.E.2d 360 (1997) (refusing to consider the defendant's
argument that he should have been permitted to introduce, in mitigation of punishment,
information regarding the identity of the alleged accomplice mentioned in the defendant’s
confessions because, at trial, the defendant offered the evidence to bolster his other statements, not
to mitigate punishment). See also State v. Humphries, 325 S.C. 28, 479 S.E.2d 52, 56 (holding
arguments were unpreserved where defense counsel objected to victim impact evidence at trial for
lack of notice, but alleged on appeal that the evidence was excessive, and the prosecutor’s acts
were prejudicial).
41
  See, e.g., State v. Tucker, 324 S.C. 155, 168-169, 478 S.E.2d 260, 267 (1996) (holding that the
appellant waived his objection by refusing trial judge’s offer of a curative instruction).


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instruction or move for a mistrial to preserve the alleged error for future appellate review. 42 The

impact of South Carolina’s error preservation rules is further exacerbated by the consistent refusal

of South Carolina’s courts to apply a “plain error” rule, 43 which is typically employed by most

states with the death penalty to ameliorate the harsh outcomes under strict error preservation rules

by considering significant issues not preserved at trial. 44 Because of South Carolina’s draconian

error preservation rules and due to the absence of the plain error rule, the probability that defense

counsel will inadvertently waive meritorious claims of the defendant is dangerously high. As

discussed below, procedurally defaulted claims are, with limited exceptions, not reviewed by

federal habeas courts.

        43.    Perhaps most importantly, Congress and the Supreme Court of the United States

have so dramatically restricted the scope of federal habeas corpus review that often a death row

inmate with meritorious federal claims does not have an opportunity to raise these claims in federal

court, let alone have the good fortune of being awarded a suitable remedy, even for seemingly




42
  See, e.g., State v. George, 323 S.C. 496, 510, 476 S.E.2d 903, 912 (1996) (holding that an
objection to the introduction of character evidence is not preserved if counsel does not “make an
additional objection to the sufficiency of the curative charge or move for a mistrial”).
43
  See Jackson v. Speed, 326 S.C. 289, 307, 486 S.E.2d 750, 759 (1997) (“This Court has
consistently refused to apply the plain error rule.”)
44
   See generally John H. Blume and Pamela A. Wilkins, Death by Default: State Procedural
Default Doctrine in Capital Cases, 50 S.C. L. REV. 1, 31-42 (1998) (outlining the benefits of the
plain error rule and advocating South Carolina’s adoption of this rule that is commonly employed
by other States with death penalty).


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clear constitutional violations. 45 In this petition, we do not intend to catalog the numerous hurdles

that legislative and judicial actions have established to foreclose federal habeas review. 46 Instead,

for illustrative purposes, we shall primarily focus on three such hurdles—restrictions relating to

procedurally defaulted claims and ineffective assistance of counsel claims, and the deferential

standard employed by federal habeas courts in reviewing federal law determinations.

        44.    In general, a federal habeas court is barred from reviewing any claims that have

been procedurally defaulted in state court proceedings. McCarver v. Lee, 221 F.3d 583, 588 (4th

Cir. 2000). There is, however, a narrow exception to the general bar against federal habeas review

of procedurally defaulted claims where the petitioner “can demonstrate cause for the default and

actual prejudice as a result of the alleged violation of federal law, or demonstrate that failure to

consider the claims will result in a fundamental miscarriage of justice.” Coleman v. Thompson,

501 U.S. 722, 750 (1991). This restriction, in combination with South Carolina’s stringent error

preservation rules, often results in forfeiture of otherwise meritorious federal claims held by death

row inmates from South Carolina.

        45.    Another example of the types of restraints that federal courts have imposed on

prisoners’ ability to file habeas corpus petitions is the recent Supreme Court decision in Shinn v.


45
   Stephen R. Reinhardt, The Demise of Habeas Corpus and the Rise of Qualified Immunity: The
Court’s Ever Increasing Limitations on the Development and Enforcement of Constitutional
Rights and Some Particularly Unfortunate Consequences, 113 MICH. L. REV. 1219, 1220 (2015)
(“[A]ny participant in our habeas regime would have to agree that it resembles a twisted labyrinth
of deliberately crafted legal obstacles that make it as difficult for habeas petitioners to succeed in
pursuing the Writ [of habeas corpus] as it would be for a Supreme Court Justice to strike out Babe
Ruth, Joe DiMaggio, and Mickey Mantle in succession—even with the Chief Justice calling balls
and strikes”).
46
  See generally Brandon L. Garrett & Kaitlin Phillips, AEDPA Repeal, 107 CORNELL L. REV. 1739
(2022); Diane P. Wood, The Enduring Challenge for Habeas Corpus, 95 NOTRE DAME L. REV.
1809 (2020).


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Ramirez, 142 S. Ct. 1718 (2022). In general, capital petitioners have actively sought federal habeas

review of ineffective assistance of counsel claims. 47 Typically, a capital petitioner’s ineffective

assistance claim alleges the failure of defense counsel to assert a possibly meritorious claim in

state courts; and often the meritorious claim that defense counsel has failed to assert is one that

cannot be directly litigated on its merits in federal courts because of procedural or substantive

restraints under extant federal habeas jurisprudence. Simply put, ineffective assistance claims in

federal habeas litigation are often based on otherwise defaulted claims. Ineffective assistance

claims, by providing an alternative for presenting claims that are otherwise barred for

consideration by federal courts, have served as “a safety valve to otherwise harsh substantive and

procedural barriers to habeas petitioners.” 48 Until recently, the Supreme Court has not sought to

restrain such use of ineffective assistance claims. In Martinez v. Ryan, 566 U.S. 1 (2012), 49 the

Supreme Court recognized a narrow exception to the rule established in Coleman and held that

“[i]nadequate assistance of counsel at initial-review collateral proceedings may establish cause for

a prisoner’s procedural default of a claim of ineffective assistance at trial.” 50 However, in Shinn,



47
  See Nancy J. King, Fred L. Cheesman, and Brian J. Ostrom, FINAL TECHNICAL REPORT: HABEAS
LITIGATION IN US DISTRICT COURTS at 28 (2007) (“81% (299) of the capital [federal habeas] cases
included at least one claim alleging the ineffective assistance of counsel. 123 of these cases raised
at least one [ineffective assistance of counsel] claim regarding appellate counsel”) (emphasis in
original).
48
     Tom Zimpleman, The Ineffective Assistance of Counsel Era, 63 S.C. L. REV. 425, 426 (2011).
49
   See Martinez, 566 U.S. at 17 (2012) (“Where, under state law, claims of ineffective assistance
of trial counsel must be raised in an initial-review collateral proceeding, a procedural default will
not bar a federal habeas court from hearing a substantial claim of ineffective assistance at trial if,
in the initial-review collateral proceeding, there was no counsel or counsel in that proceeding was
ineffective”).
50
     Id. at 15.


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the Supreme Court has effectively hollowed out the Martinez exception by holding that Section

2254(e)(2) of the Anti-Terrorism and Effective Death Penalty Act forbids, with limited exceptions,

the federal court from holding an evidentiary hearing if the habeas petitioner “has failed to develop

the factual basis of a claim in State court proceedings.” Considering that ineffective assistance

claims frequently turn on errors of omission, such as failure to investigate, proof of such

ineffectiveness will, by definition, be outside the state court record. 51 Shinn will undoubtedly

hamper capital habeas petitioners’ ability to effectively litigate claims of ineffective assistance of

counsel. 52   It erects yet another formidable procedural barrier for habeas petitioners with

meritorious claims to overcome and is a telling example of the Supreme Court’s continuing efforts

to narrow the scope of federal habeas corpus. 53

        46.     When a capital petitioner raises a claim that was adequately raised and preserved

in state courts, the petitioner can be granted relief only if he can demonstrate the state court

decision is contrary to or an unreasonable application of clearly established federal law. This test


51
   Id. at 12 (“…the evidentiary basis for a claim of ineffective assistance…often turns on evidence
outside the trial record”); see also id. at 13 (“Ineffectiveness-assistance claims often depend on
evidence outside the trial record. Direct appeals, without evidentiary hearings, may not be as
effective as other proceedings for developing the factual basis for the claim”).
52
  Daniel S. Medwed, Ineffective Assistance of Case Law: The Supreme Court’s Deficient Habeas
Jurisprudence, 17 HARVARD LAW & POLICY REVIEW 345 (2024) (“Going forward, Ramirez could
make the road to freedom nearly impassable for prisoners who want to rely on [ineffective-
assistance-of-counsel] claims…in a federal habeas corpus action.”).
53
  See Row v. Miller, No. 1:98-cv-00240-BLW, 2023 WL 2744409 (D. Idaho 2023) (“The great
writ is an extraordinary remedy that should be granted only if an extreme malfunction occurred in
the state criminal justice systems. This case clearly fits this description. However, under the
current state of the law, the Court can do nothing to provide a remedy to Petitioner. This is a direct
consequence of…expedited justice for death penalty cases [in Idaho], coupled with the equally
harsh and unforgiving limitations imposed by [federal legislation] on habeas proceedings in federal
court. And now we have the Supreme Court’s decision in [Shinn] – holding that, under [relevant
federal legislation], the Petitioner has no federal remedy for a violation of her constitutional rights,
even when her state court attorneys were shockingly inept. Thus, in this case the ‘great writ’ is
reduced to a meaningless exercise in futility.” (internal quotation marks and citations omitted)).
                                                   22
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has been construed by the Supreme Court to show extreme deference to state courts’

determinations of federal law. “[A] habeas court must determine whether arguments or theories

supported or [] could have supported, the state court’s decision; and then it must ask whether it is

possible fairminded jurists could disagree that those arguments or theories are inconsistent with

the holding in a prior decision of the Court.” See Harrington v. Richter, 562 U.S. 86, 102 (2011).

In a recent 2022 opinion, the Court restated this standard to require even greater deference to state

courts: “[A] petitioner must persuade a federal court that no fairminded jurist could reach the state

court’s conclusion under [the Supreme] Court’s precedents.” Brown v. Davenport, 142 S. Ct.

1501, 1525 (2022) (internal quotation marks omitted) (emphasis added). In Brown v. Davenport,

Justice Gorsuch, writing for the majority, explained that the test is not “whether a federal habeas

court itself harbors grave doubt about the [state court’s] verdict;” but “whether every fairminded

jurist would agree that an error [in state court’s verdict] was prejudicial.” Id. (emphasis in

original); see also Cavazos v. Smith, 565 U.S. 1, 2 (2011), (“[federal habeas] judges will sometimes

encounter convictions that they believe to be mistaken, but they must nonetheless uphold [such

mistaken convictions]).” The Supreme Court has acknowledged the difficulty in satisfying this

test: “If this standard is difficult to meet, that is because it was meant to be.” Harrington, 562 U.S.

at 102.

          47.   In short, Congress and the Supreme Court have effectively made federal habeas

review unavailable in the vast majority of cases. The statistics speak for themselves: A recent




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study of reversal rates in capital cases in Texas from 2000 through 2020 noted that “of the 151

completed federal habeas proceedings, inmates were ultimately successful in a single case.” 54

        48.    Regardless of one’s perspective regarding the current trend that clearly prioritizes

a state’s interest in finality of criminal convictions over a defendant’s countervailing interest in a

fair trial and robust post-conviction appeals process, it is undeniable that this current trend has the

potential to substantially increase the risk of unjust executions. In South Carolina, there are only

two tools for managing this critical risk: obtaining a writ of habeas corpus from the Supreme Court

of South Carolina 55 and executive clemency.

        49.    In the post-litigation phase, executive clemency is the sole and ultimate check on

the State’s authority to deprive life. See Harmelin v. Michigan, 501 U.S. 957, 1008 (“Executive

or legislative clemency [in the post-sentencing phase] provide[s] means for the State to avert or

correct unjust sentences.”). Executive clemency is the only “fail safe” mechanism after a capital

defendant has exhausted his judicial remedies and, therefore, it is of utmost importance that a

capital defendant like Moore is provided meaningful access to clemency in full compliance with

the Due Process Clauses of the federal and state constitutions.


54
  See David R. Dow & Jeffrey R. Newberry, Reversal Rates in Capital Cases in Texas, 2000 –
2020, 68 UCLA L. REV. DISCOURSE 2 (2020) (comparing three studies of success rates in capital
federal habeas cases: a nationwide study examining every capital case from 1973 through 1995
calculated “success rate in federal habeas proceedings [by capital petitioners] of almost 40
percent;” a study for all federal habeas applications between January 2000 and January 2007
“revealed that, in the aggregate, death row inmates had a nationwide success rate of around 12
percent…[showing] significant variations among jurisdictions and federal circuits;” and a 2000 –
2020 study of reversal rates in capital cases in Texas found that of the 151 completed federal
habeas proceedings, inmates were ultimately successful in a single case”).
55
  Torrence, 305 S.C. at 69, 406 S.E.2d at 328 (““[W]e do not relinquish entirely our ability to
provide relief to those who have, for whatever reason, been utterly failed by our criminal justice
system…an imprisoned individual may obtain a writ of habeas corpus from [South Carolina’s
Supreme] Court after exhausting all other sources of relief, “where there has been a ‘violation,
which, in the setting, constitutes a denial of fundamental fairness shocking to the universal sense
of justice.’”).
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                                                 IV.

                                      CLAIMS FOR RELIEF

                           Count I: Due Process Violation Under
             the Fourteenth Amendment to the Constitution of the United States

       50.     Plaintiff incorporates by reference each statement, and each allegation, set forth in

this Complaint as if fully set forth herein.

       51.     This Claim for Relief is grounded in Moore’s cognizable liberty interest in his

continued life and his right, under the Due Process Clause of the United States Constitution, not

to be deprived of his life without due process of law.

       52.     The Supreme Court has consistently recognized that “capital punishment [must] be

imposed fairly, and with reasonable consistency, or not at all.” Eddings v. Oklahoma, 455 U.S.

104, 112 (1982). To ensure that the most fundamental right—right to life—is not unfairly or

arbitrarily extinguished, the State of South Carolina has provided an additional safeguard—the

authority to grant clemency. See Ford v. Wainwright, 477 U.S. 399, 409 (1986) (plurality opinion)

(recognizing the “fundamental right to life”).

       53.     In Woodard, the Supreme Court announced that state clemency procedures require,

at a minimum, the basic elements of due process. 523 U.S. at 288 (1998) (O’Connor, J., concurring

in the result). This requirement is consistent with the Supreme Court’s earlier observation that

“there can be no doubt that at a minimum [the Due Process Clause] requires that deprivation of

life, liberty or property by adjudication be preceded by notice and opportunity for hearing

appropriate to the nature of the case.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S.

306, 313 (1950). See also Concrete Pipe & Products of Cal., Inc. v. Construction Laborers

Pension Trust for Southern Cal., 508 U.S. 602, 617 (1993) (“due process requires a neutral and

detached judge in the first instance”) (internal citations and quotation marks omitted). With

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regards to an executive clemency proceeding, the phrase “hearing appropriate to the nature of the

case” would at a minimum require the hearing to be presided over by an unbiased decision-maker.

See, e.g., Hamdi v. Rumsfeld, 542 U.S. 507, 531 (2004) (holding that, under the Due Process

Clause, a citizen-detainee—even one that had been captured in an active combat zone in

Afghanistan fighting with a Taliban unit—“seeking to challenge his classification as an enemy

combatant must receive notice of the factual basis for his classification, and a fair opportunity to

rebut the Government’s factual assertions before a neutral decisionmaker.”) (emphasis added).

Accordingly, a state clemency procedure must satisfy the three basic requirements of due process:

(1) notice and (2) an opportunity to be heard (3) before an unbiased decision-maker, untainted by

any prior personal participation in the prosecution or bound by premature declarations that no

mercy will be shown in a given case. See Marshall v. Jerrico, Inc., 446 U.S. 238 (1980); Mathews

v. Eldridge, 424 U.S. 319 (1976).

       54.     In Woodard, Justice O’Connor’s coin flip example evokes a procedure for granting

clemency that would be so arbitrary that it would clearly not meet the minimal due process

requirements that a constitutional clemency procedure must satisfy under the United States

Constitution. See Woodard, 523 U.S. at 289 (1998) (Justice O’Connor explaining that “a scheme

whereby a state official flipped a coin to determine whether to grant clemency” would fail to meet

the due process requirements imposed by the United States Constitution). A logical extension of

Justice O’Connor’s coin flip example is that if determining clemency by flipping a coin or rolling

a die is unconstitutional, then determining clemency with a weighted coin or loaded die would also




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fail to satisfy the due process requirements under the United States Constitution. 56 Accordingly,

if McMaster is permitted to conduct and decide Moore’s clemency proceedings, considering his

inherent conflict and actual biases (attested by his recent statements), Moore’s clemency would in

fact be decided by a weighted coin or loaded die, which would undeniably fail to satisfy the Due

Process Clause under the United States Constitution.

        55.    In Woodard, Justice O’Connor also offered another example of state action that

would clearly fall afoul of the due process requirements that clemency proceedings must satisfy –

namely, where “the State arbitrarily denied a prisoner any access to its clemency process.” See

Woodard, 523 U.S. at 289 (1998). By prematurely deciding Moore’s clemency application when

Moore had not exhausted his judicial appeals and had not applied for clemency, McMaster has

arbitrarily denied Moore access to the clemency process and violated his due process rights.

        56.    In exercising the clemency power, the Governor has been granted the authority to

confirm or undo, partially or wholly, the decisions of juries and judges and, therefore, acts as “both

quasi-judge and quasi-jury.” 57 Because the power to grant clemency is a quasi-judicial act, the

rules of recusal should apply to the clemency process in the same manner they apply to judges.

See Tumey v. Ohio, 273 U.S. 510, 522 (1927) (“That officers acting in a judicial or quasi-judicial

capacity are disqualified by their interest in the controversy to be decided is, of course, the general

rule.”). In carrying out this obligation, “the heart of executive clemency . . .allow[s] the executive



56
   Jay Clayton, Vindicating the Right to be Heard: Due Process Safeguards against Government
Interference in the Clemency Process, 88 U. CHI. L. REV. 897, 924–25 (2021) (
“It would be an implausible conception of due process indeed to forbid determining clemency by
flipping a coin or rolling a die but permit determining clemency with a weighted coin or loaded
die.”).
57
  Brian C. Kalt, Pardon Me: The Constitutional Case against Presidential Self-Pardons, 106
YALE L. J. 779, 796 (1996).


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to consider a wide range of factors not comprehended by earlier judicial proceedings and

sentencing determinations.” Woodard, 523 U.S. at 280–81.

       57.     The United States Supreme Court has recognized that allowing an individual who

previously advocated for the State against a criminal defendant to later sit in judgment over that

defendant’s case violates the defendant’s due process rights:

       The due process guarantee that ‘no man can be a judge in his own case’ would have
       little substance if it did not disqualify a former prosecutor from sitting in judgment
       of a prosecution in which he or she had made a critical decision. . . . When a judge
       has served as an advocate for the State in the very case the court is now asked to
       adjudicate, a serious question arises as to whether the judge, even with the most
       diligent effort, could set aside any personal interest in the outcome. . . . A prosecutor
       may bear responsibility for any number of critical decisions, including what charges
       to bring, whether to extend a plea bargain, and which witnesses to call. Even if
       decades intervene before the former prosecutor revisits the matter as a jurist, the
       case may implicate the effects and continuing force of his or her original decision.
       In these circumstances, there remains a serious risk that a judge would be
       influenced by an improper, if inadvertent, motive to validate and preserve the result
       obtained through the adversary process.

Williams v. Pennsylvania, 136 S. Ct. 1899, 1906–07 (2016). “No attorney is more integral to the

accusatory process than a prosecutor who participates in a major adversary decision.” Id. at 1906.

       58.     The same fundamental principle of due process produced the per se recusal rule in

South Carolina post-conviction proceedings. “[A]s a matter of policy” in all post-conviction relief

hearings in South Carolina, “a judge shall, upon motion, recuse himself if he was the judge who

presided at the guilty plea, criminal trial, or probation revocation proceeding for which relief is

being sought.” Floyd v. State, 303 S.C. 298, 298, 400 S.E.2d 145, 146 (1991); see also Clemmons

v. Wolfe, 377 F.3d 322, 329 (3d Cir. 2004) (a district court judge’s failure to recuse from

considering a habeas petition involving a trial over which the judge had presided “created an

appearance of impropriety that runs ‘the risk of undermining the public’s confidence in the judicial

process’” (quoting Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 864 (1988))). Such



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adherence to the due process requirement of an impartial decision-maker “reflect[s] a profound

judgment about the way in which law should be enforced and justice administered.” Duncan v.

Louisiana, 391 U.S. 145, 155 (1968).

        59.    Even if the decision to grant or deny clemency is characterized as a strictly

administrative decision that is not quasi-judicial in any manner, 58 due process still requires a fair

opportunity to be heard before a neutral decision-maker just as it does in parole hearings, which

are “traditionally handled by administrative officers.” Morrissey v. Brewer, 408 U.S. 471, 486,

489 (1972) (holding that even though “[t]he granting and revocation of parole are matters

traditionally handled by administrative officers,” due process requires parole revocation hearings

to satisfy certain minimal requirements including that the hearing must be conducted by “a ‘neutral

and detached’ hearing body such as a traditional parole board”).

        60.    That no man should be judge in his own case is a bedrock principle of natural justice

and constitutionalism. It is applicable with equal force to all branches of the government—

judicial, legislative, and executive. The Supreme Court calls it “a mainstay of our system of

government.” Gutierrez de Martinez v. Lamango, 515 U.S. 417, 428 (1995) (the Court traces the

principle’s long history from political philosophers—Publius Syrus and Blaise Pascal—to the

writings of Blackstone and the Supreme Court cases of Spencer v. Lapsley, 61 U.S. (20 How) 264

(1857) and In re Murchison, 349 U.S. 133 (1955)). The Court has often applied this bedrock




58
   While this argument is offered in the alternative, it is Moore’s position that the exercise of
clemency power by the Governor is a quasi-judicial action which should be governed by the same
recusal rules as applicable to the judiciary in general.


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principle to not only the judicial branch, but also the legislative and the executive branches. 59 This

principle has been extended well beyond judging in the strict sense to cover decisions by different

types of officials in many kinds of institutions. 60 Accordingly, there can be little doubt that a

governor in exercising his clemency powers, regardless of whether they are deemed quasi-judicial,

is subject to the principle that no one can be a decision-maker in a matter in which he has a vested

interest. Defendant McMaster, with his history of defending Moore’s sentence as the chief

prosecutor in South Carolina, is in no position to comply with this bedrock principle of our system

of government.

        61.    When Defendant McMaster declared that he had “no intention to commute”

Moore’s sentence, he effectively ruled on Moore’s clemency application, which Moore has not yet

filed. This denial failed to satisfy any of the three procedural due process requirements: (1) Moore

did not receive any prior notice that his clemency case was being considered; (2) Moore was not


59
   See, e.g., Nev. Comm’n on Ethics v. Carrigan, 564 U.S. 117, 123 (2011) (applying the principle
to the legislative branch; noting the principle that legislators should recuse themselves from voting
on questions in which they have a personal interest because “the fundamental principles of the
social compact [bar]…any man to be a judge in his own case” (quoting Thomas Jefferson, A
MANUAL OF PARLIAMENTARY PRACTICE FOR THE USE OF THE SENATE OF THE UNITED STATES 31
(1801)); Berger v. United States, 295 U.S. 78, 88 (1935) (applying the principle to the executive
branch – “The United States Attorney is the representative not of an ordinary party to a
controversy; but of a sovereignty whose obligation to govern impartially is as compelling as its
obligation to govern at all; and whose interest, therefore, in a criminal prosecution is not that it
shall win a case, but that justice shall be done”—and ordering a new trial, in part, because of the
prosecutor’s lack of impartiality and other prosecutorial misconduct during the trial phase)
(emphasis added).
60
   See, e.g., 5 U.S.C. § 554(d)(2)(C)(the Administrative Procedure Act requires that agency
personnel that investigate and prosecute a matter do not also adjudicate the same matter); THE
FEDERALIST NO. 10 (James Madison applying the principle to the legislative branch in discussing
the tendency of legislative majorities to make biased and partisan decisions argued that “[n]o man
is allowed to be judge in his own cause, because his interest would certainly bias his judgment,
and, not improbably, corrupt his integrity”); and Marc Lacey, Arizona Governor and Senate Oust
Redistricting Leader, N.Y. TIMES, Nov. 2, 2011 (discussing Republican governor’s objections to
the chairwoman of Arizona’s independent redistricting commission for being biased in favor of
Democrats).
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provided with an opportunity to be heard and provide information relevant to his case; and (3) the

application was decided by a former state prosecutor who “participate[d] in major adversary

decision[s]” in Moore’s case. Williams, 136 S. Ct. at 1906. Therefore, McMaster’s premature

denial of clemency violated Moore’s due process rights under the Fourteenth Amendment. See

Young v. Hayes, 218 F.3d 850, 853 (2000) (holding that “[t]he Constitution of the United States

does not require that a state have a clemency procedure, but, in our view, it does require that, if

such a procedure is created, the state’s own officials refrain from frustrating it…”) (emphasis

added).

          62.   Notwithstanding McMaster’s premature denial of clemency, Moore wishes to file

a clemency application and have it fairly reviewed—a right granted to him under the Constitution

of South Carolina and the applicable laws of South Carolina.

          63.   Because McMaster was the Attorney General of South Carolina during Moore’s

direct appeal and throughout significant portions of Moore’s state post-conviction proceedings, he

has an inherent conflict of interest that would preclude him from fairly considering Moore’s

clemency request in the future. Therefore, McMaster cannot satisfy the requirement of an impartial

executive authority.   Because Defendant McMaster is not impartial, if Moore’s clemency

application was decided by the Governor’s Office, it would be a clear violation of Moore’s right

to due process of law under the United States Constitution.

          64.   Failure to recuse the Governor’s Office from ruling on Moore’s clemency

application would not only violate Moore’s due process rights, but also undermine society’s

confidence in the integrity of South Carolina’s criminal justice and its implementation of the death




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penalty. 61 Accordingly, not only from the perspective of Moore’s due process rights, but also

considering public’s confidence in South Carolina’s criminal justice system, it is important that

the Governor’s Office is required to recuse itself from deciding Moore’s clemency application.

                                    Count II: Injunctive Relief

        65.    Moore incorporates by reference each statement, and each allegation, set forth in

this Complaint as if fully set forth herein.

        66.    Moore has a legal right to a clemency proceeding conducted and decided by a

neutral and impartial decision-maker who is untainted by his prior, personal participation in the

prosecution of Moore.

        67.    Moore, who is scheduled to be executed on November 1, 2024, before this case

can be decided on the merits, will suffer the irreparable harm of execution unless a stay of

execution and/or a temporary restraining order is issued by this Court and a preliminary injunction

is issued by this Court, pending further orders of the Court and a decision on the merits.

        68.    The injury to Moore if injunctive relief is denied—loss of life—outweighs any

conceivable loss to Defendant if a stay of execution, temporary restraining order, and/or a

preliminary injunction is issued.

        69.    Moore seeks a stay of execution and/or temporary restraining order; and

preliminary and permanent injunctive relief as fully set forth in the Prayer for Relief.




61
   See Brief of Current and Former Governors as Amici Curiae in Support of Petitioner in
Harbinson v. Bell, 2008 WL 4264488 at *8 (former governors from death penalty states
emphasized the importance of exercising clemency power in a fair manner to bolster “public
confidence in the criminal justice system”); see also Woodard, 523 U.S. at 294–295 (“It is of vital
importance to the defendant and to the community that any decision to impose the death sentence
be, and appear to be, based on reason rather than caprice or emotion….Those considerations apply
with special force to the final stage of the decisional process that precedes an official depreciation
of life”) (Stevens, J., dissenting).
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                                   Count III: Declaratory Relief

        70.     Moore incorporates by reference each statement, and each allegation, set forth in

this complaint as if fully set forth herein.

        71.     Moore seeks a declaration that the exercise of McMaster’s power to grant or deny

clemency in regard to any petition for clemency by Plaintiff would constitute a violation of

Plaintiff’s right to due process under the United States Constitution.

        72.     Moore seeks a declaration that because McMaster is barred from considering

Moore’s clemency applications, he must refer his application to the Parole Board and the Parole

Board must decide the merits of Moore’s clemency application. The decision of the Parole Board

in Moore’s clemency proceedings shall be binding upon Defendant McMaster and any of his

agents or any persons or governmental departments directly or indirectly supervised by him.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully seeks the following relief:

        A.      Treat this Complaint as an affidavit in support of Plaintiff’s request a stay of

                execution and/or temporary restraining order, and for other preliminary and

                permanent injunctive relief.

        B.      Issue a stay of execution and/or temporary restraining order prohibiting Defendant

                or his Agents from carrying out an execution pending further orders from this

                Court, where “Agent” refers to any agent of Defendant or any individual, entity or

                governmental department supervised, either directly or indirectly, by Defendant.

        C.      Issue a permanent injunction barring Defendant from conducing any clemency

                proceedings instituted pursuant to Plaintiff’s petition for clemency, or from

                rendering a decision with respect thereto, and barring Defendant and his Agents (as



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             defined above) from carrying out an execution unless Plaintiff has had the

             opportunity to have his request for executive clemency, including commutation of

             the death sentence, decided by arbiters that are impartial, without any conflict of

             interest, and did not serve as counsel for the State at any time in Plaintiff’s court

             proceedings.

      D.     Enter a declaratory judgment that Defendant’s conduct or supervision of Plaintiff’s

             clemency proceedings, or Defendant’s rendering of a decision with respect to

             Plaintiff’s clemency application, would constitute a violation of Plaintiff’s rights to

             due process under the United States Constitution.

      E.     Issue an order that Defendant shall refer Plaintiff’s clemency application to the

             Parole Board and the Parole Board must decide the merits of Plaintiff’s clemency

             application; and that the Parole Board’s decision in Plaintiff’s clemency

             proceedings shall be binding upon Defendant and his Agents (as defined above).

      F.     Award any other remedy or relief to which Plaintiff may be entitled and which is

             deemed appropriate by the Court.


                                                      Respectfully submitted,



Dated: October 7, 2024                                By: s/Lindsey S. Vann

 LINDSEY S. VANN (Fed. ID # 11872)                    JOHN H. BLUME (Fed. ID #1360)
 ALLISON FRANZ (Fed. ID # 13953)                      CORNELL UNIVERSITY
 JUSTICE 360                                          112 MYRON TAYLOR HALL
                                                      ITHACA, NY 14853
 900 ELMWOOD AVE, SUITE 200                           (607) 255-1030
 COLUMBIA, SC 29201
 (803) 765-1044
                                       Counsel for Plaintiff




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